              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:23-cv-00003-MR


WESTERN-SOUTHERN LIFE              )
ASSURANCE COMPANY,                 )
                                   )
                Plaintiff,         )
                                   )
          vs.                      )           ORDER
                                   )
SHANNON NICOLE DAVES,              )
                                   )
                Defendant/         )
                Cross-Defendant,   )
                                   )
and                                )
                                   )
KIMBERLY DAWN EVANS, as            )
Executor of the Estate of Roger M. )
Evans,                             )
                                   )
                Defendant/         )
                Cross-Claimant.    )
________________________________ )

     THIS MATTER is before the Court on the Plaintiff’s Motion to Dismiss

and for Discharge, Permanent Injunction, and Attorney’s Fees and Costs

[Doc. 19].

I.   BACKGROUND

     On January 4, 2023, the Plaintiff Western-Southern Life Assurance

Company initiated this interpleader action pursuant to Rule 22 of the Federal



     Case 1:23-cv-00003-WCM    Document 24    Filed 08/26/24   Page 1 of 6
Rules of Civil Procedure against Shannon Nicole Daves and Kimberly Dawn

Evans, seeking the Court’s distribution of $97,805.76 in life insurance

proceeds under its control. [Doc. 1]. The Plaintiff had issued a life insurance

policy (“Policy No. *****19185”) to Roger Michael Evans, who is now

deceased. [Id.]. The named policy beneficiary, Defendant Shannon Nicole

Daves, has been charged with the first-degree murder of Mr. Evans. [Id.].

Defendant Kimberly Dawn Evans is Mr. Evans’ sister as well as the executor

of his estate. [Id.].

       On April 5, 2023, Defendant Evans filed an Answer and Crossclaim

against Defendant Daves. [Doc. 6]. On November 27, 2023, the Court

issued an Order staying this matter until a final judgment had been reached

in the related state court criminal case against Daves.           [Doc. 15].    On

December 13, 2023, the Plaintiff filed a Notice of Submission of Funds

indicating that it had deposited $97,805.76 into the Court’s registry. [Doc.

16].

       On July 25, 2024, the Plaintiff filed the present Motion seeking its

dismissal from the case with prejudice and discharging it from all further

liability relating to the Policy No. *****19185. [Doc. 19]. The Plaintiff’s Motion

also seeks an award of reasonable attorney’s fees and costs. [Id.]. Both of




                                        2

       Case 1:23-cv-00003-WCM    Document 24     Filed 08/26/24   Page 2 of 6
the Defendants have filed Responses indicating that they do not oppose the

Plaintiff’s Motion. [Docs. 21, 22].

II.   DISCUSSION

      Rule 22 of the Federal Rules of Civil Procedure allows a party who

faces potential double or multiple liability to join the prospective claimants as

defendants in a single action “and efficiently resolve their claims to a corpus

in a single forum and proceeding.” AmGuard Ins. Co. v. SG Patel & Sons II

LLC, 999 F.3d 238, 244 (4th Cir. 2021) (citation and internal quotation marks

omitted). The stakeholder in an interpleader action “makes no claim to a part

of the money or property for itself and is indifferent as to which claimant

should receive the money and property and simply deposits the money or

property with the court for distribution to the claimants.” Colonial Life & Acc.

Ins. Co. v. Bryant, No. 1:21-cv-00332-MR, 2022 WL 5027526, at *4

(W.D.N.C. Oct. 4, 2022) (quoting AmGuard Ins. Co., 999 F.3d at 244)

(internal quotation marks omitted). “Once the stakeholder has deposited the

property with the court, the stakeholder is discharged.” Id. (citation and

internal quotation marks omitted).

      Here, the Plaintiff has fulfilled its obligations under the disputed life

insurance policy by depositing the disputed funds with the Court.              The

Defendants do not oppose the Plaintiff's motion for discharge and for


                                       3

      Case 1:23-cv-00003-WCM     Document 24    Filed 08/26/24   Page 3 of 6
permanent injunction. Accordingly, the Plaintiff will be discharged from any

liability in this action and dismissed with prejudice. Furthermore, the Court

will enjoin the Defendants from initiating or prosecuting any claim or action

against the Plaintiff on account of or pertaining to Policy No. *****19185 or

its proceeds.

      The Plaintiff also requests an award of attorneys’ fees and costs

related to the prosecution of this action. The Court in its discretion may

award attorney’s fees and costs “to the stakeholder in an interpleader action

. . . whenever it is fair and equitable to do so.” State Farm Life Ins. Co. v.

Cull, No. 5:20-CV-00686-M, 2021 WL 2931415, at *3 (W.D.N.C. July 12,

2021) (citation omitted). In determining whether to award fees and costs,

the Court may consider the following factors: “whether the opposing party

has acted in bad faith, whether the interpleader is disinterested in the

litigation, whether interpleader plaintiff seeks to improperly transfer an

ordinary cost of doing business to the claimants, and whether attorney's fees

and costs would seriously deplete the fund deposited in court through the

allowance of large fees to interpleader plaintiff’s counsel.” State Farm Life

Ins. Co. v. Littleton, No. 7:20-CV-36-FL, 2020 WL 4432381, at *3 (E.D.N.C.

July 31, 2020) (citations omitted).




                                      4

     Case 1:23-cv-00003-WCM     Document 24   Filed 08/26/24   Page 4 of 6
      Here, counsel billed the Plaintiff for 31.7 hours of attorney time and 9.5

hours of paralegal time related solely to this action. [Doc. 19-1: Affidavit of

Hanna E. Eickmeier at ¶ 3]. While it incurred greater fees, the Plaintiff seeks

to recover $7,335.43 in attorneys’ fees and $1,249.01 in costs related to the

prosecution of this action. [Id.at ¶¶ 4-5]. The Defendants consent to an

award of such fees and costs. [Id. at ¶ 6; Docs. 21, 22]. Moreover, the

Plaintiff’s requested attorneys’ fees and costs will not significantly deplete the

Policy’s proceeds, as the total amount requested ($8,584.44) represents

only 9.0% of the deposited amount of proceeds. Accordingly, the Court will

allow the Plaintiff to recover $7,335.43 in attorneys’ fees and $1,249.01 in

costs from the deposited funds.



                                    ORDER

      IT IS, THEREFORE, ORDERED that the Plaintiff’s Motion to Dismiss

and for Discharge, Permanent Injunction, and Attorney’s Fees and Costs

[Doc. 19] is GRANTED, and the Plaintiff is hereby DISMISSED WITH

PREJUDICE from this action. The Clerk of Court shall issue payment in the

amount of $8,584.44 in attorneys’ fees and costs to the Plaintiff Western-

Southern Life Assurance Company from the funds deposited with the

Registry of the Court.


                                        5

     Case 1:23-cv-00003-WCM      Document 24     Filed 08/26/24   Page 5 of 6
     IT IS FURTHER ORDERED that the Defendants/Claimants Shannon

Nicole Daves and Kimberly Dawn Evans, as Executor of the Estate of Roger

M. Evans, and their respective agents, attorneys, representatives, heirs,

executors, assigns, and all persons claiming through or under them, are

hereby ENJOINED AND RESTRAINED from instituting or pursuing any state

or federal court action for the recovery of the benefits under the subject

Policy, or relating in any way to the Plaintiff’s actions with respect to the

handling of these claims

     IT IS SO ORDERED.

                           Signed: August 26, 2024




                                           6

     Case 1:23-cv-00003-WCM       Document 24        Filed 08/26/24   Page 6 of 6
